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                           IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF GEORGIA
                                              ATLANTA DIVISION


             EDUARDO ANTONIO                                       •

                                                                   •




             MORENO-ROSALES                                        •

                                                                   •




             BOP Reg.# 61158-019,                                  •

                                                                   •        CRIMINAL ACTION NO.
                                                                   •

                                                                   •        1 :09-CR-359-RWS-AJB-2
                   Movant,                                         •

                                                                   •




                                                                   •

                                                                   •




             v.                                                    •

                                                                   •        CIVIL ACTION NO.
                                                                   •

                                                                   •        1:13-CV-977-RWS
             UNITED STATES OF AMERICA,                             •

                                                                   •




                                                                   •

                                                                   •




                   Respondent.                                     •

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                                                            ORDER


                   This matter is before the Court on the Report and Recommendation of


             Magistrate Alan J. Baverman [Doc. No. 308]. No objections have been filed


             thereto.   Having   carefully           considered             the      record           and   the   Report and


             Recommendation, the Report and Recommendation is adopted as the opinion and


             order of this Court. As such, the § 2255 petition [Doc. No. 257], as amended, is


             DENIED. A Certificate of Appealability is DENIED because the resolution of the


             issues presented is not debatable.                        Civil action number 1: 13-CV-977 is


             DISMISSED.


                   SO ORDERED, this            _t!aay of September, 2015.


                                                                  United States District Ju ge
A072A
(Rev.8/82)
